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                         LINITED STATES DISTRICT COURT
                                District of Minnesota


TINITED STATES OF AMERICA.                              rNDrcrMENr C      ti lt1 -qDLnffilfiK
                     Plaintiff,                         2l U.S.C. $ 8al(a)(1)
                                                        2l u.s.c. $ 841(bxlxA)


EDGAR CISNEROS, JR.,

                     Defendant.

THE I.INITED STATES GRAND JURY CHARGES THAT:

                                          COUNT     1
                (Possession With Intent to Distribute Methamphetamine)

       On or about November 12, 2014, in the State and District of Minnesota, the

defendant,

                                  EDGAR CISNEROS, JR.

knowingly and intentionally possessed with the intent to distribute approximately l0

pounds of a mixture or substance containing a detectable amount of methamphetamine, a

controlled substance, in violation of Title 21, United States Code, Sections 841(a)(l) and

84r(bxlxA).

                            FORFEITURE ALLEGATIONS

       Upon conviction of Count     I   of this Indictment, the defendant shall forfeit to the

United States pursuant to Title 21, United States Code, Section 853(a)(l) and(2), any and

all property constituting, or derived from, any proceeds the defendant obtained directly or




                                                                                 DEC   - 9 20lrr
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indirectly as a result of said violations, and any and all property used, or intended to be

used, in any manner or part to commit or to facilitate the commission of said violations.

         If   any of the above-described forfeitable property is unavailable for forfeiture, the

United States intends to seek the forfeiture of substitute property as provided for in Title

21, United states code, section 853(p).       All in violation of ritle   21, united states code,

Sections      8al(a)(l), 841(bX1XA), and 853(a)(1) and (2).

                                          A TRUE BILL



UNITED STATES ATTORNEY                               FOREPERSON
